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             10

             11                                    UNITED STATES DISTRICT COURT

             12                                   NORTHERN DISTRICT OF CALIFORNIA

             13        RAJA KANNAN,                                 Case No. 5:17-cv-07305-EJD (VKD)
             14                      Plaintiff,                     DEFENDANT APPLE INC.’S
                                                                    FURTHER STATEMENT RE
             15               v.                                    BONUS/STOCK AWARD PER DKT.
                                                                    255
             16        APPLE INC.,
             17                      Defendant.
                                                                    Complaint Filed:   December 26, 2017
             18                                                     FAC Filed:         May 10, 2018
                                                                    SAC Filed:         October 19, 2018
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                           DEFENDANT APPLE INC.’S FURTHER STATEMENT RE BONUS/STOCK AWARD PER DKT. 255
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               1                Pursuant to the Order of Magistrate Judge Virginia DeMarchi (Dkt. 255), Defendant APPLE

               2       INC. (“Apple” or “Defendant”), by and through its respective counsel of record, hereby respectfully

               3       submits its further statement regarding whether the amount of an RSU award or performance bonus to

               4       an employee may be expressed as a range or category, or in some other way that does not disclose the

               5       precise amount of such an award or bonus but nevertheless permits Mr. Kannan to use the information

               6       to prosecute his claims that he was treated unfairly compared to other employees working under Joseph

               7       Kotni.

               8                With respect to the bonus and RSUs issued each year as part of the annual performance review

               9       process, Apple proposes that bonus and RSU awards for each member of Joseph Kotni’s team be

             10        characterized with the designations of “Low,” “Medium,” and “High” where Low represents 1-33%

             11        of the maximum amount, Medium represents 34-66% of the maximum amount, and High represents

             12        67-100% of the maximum amount of a performance bonus or RSUs for the particular job level for the

             13        particular Fiscal Year. The maximum amount for Fiscal Years 2014 through 2018 will be based on

             14        the applicable compensation guidelines, with the maximum being the maximum performance bonus

             15        or RSU award available for a particular job level in Joseph Kotni’s department for that particular Fiscal

             16        Year as set forth in the applicable compensation guidelines. Because Apple does not have records of

             17        the compensation guidelines in Joseph Kotni’s department for Fiscal Years 2011 and 2012, and the

             18        compensation guidelines for Fiscal Year 2013 do not include a maximum performance bonus or RSU

             19        award amount available for a particular job level, the maximum amount for Fiscal Years 2011 through

             20        2013 will be based on the highest performance bonus or RSU award that was granted among the

             21        employees listed in the chart for a particular job level for that particular Fiscal Year. If no performance

             22        bonus or non-Apple Seed RSUs were awarded as part of the performance review process in a Fiscal

             23        Year, Apple would note “None” in the particular category.

             24                 A hypothetical example of Apple’s proposed format for the performance bonus and non-Apple

             25        Seed RSUs awarded for Fiscal Years 2014 and 2015 is set forth below:

             26        //

             27        //

             28        //
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               1
                       Employee      Job     Fiscal   Year   2014 Fiscal Year 2014 Fiscal         Year Fiscal     Year
               2
                                     Level   Performance Bonus     Non-Apple Seed 2015                   2015     Non-
               3
                                                                   RSU Award           Performance       Apple    Seed
               4
                                                                                       Bonus             RSU Award
               5
                       Employee #1   IC4     High                  Medium              Medium            Low
               6
                       Employee #2   IC5     Medium                Medium              High              None
               7

               8       Dated: May 26, 2020                            BAKER & MCKENZIE LLP
               9

             10                                                       By: /s/ Todd K. Boyer
                                                                         Todd K. Boyer
             11                                                          Caroline Pham
                                                                         Attorney for Defendant
             12                                                          APPLE INC.
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